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                EXHIBIT “D”
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                                                        PRECEDENTIAL

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 _____________

                                     No. 17-3330
                                    _____________

                                ELAINE LEVINS;
                      WILLIAM LEVINS, on behalf of themselves
                            and others similarly situated,
                                                   Appellants

                                           v.

                HEALTHCARE REVENUE RECOVERY GROUP LLC,
                     a/k/a ARS Account Resolution Services;
                    JOHN AND JANE DOES 1 THROUGH 25
                                _____________

                     On Appeal from the United States District Court
                              for the District of New Jersey
                                (D.C. No. 1-17-cv-00928)
                      District Judge: Honorable Robert B. Kugler
                                    _______________

                                        Argued
                                      June 5, 2018

                 Before: AMBRO, JORDAN, and VANASKIE, Circuit
                                   Judges
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                                 (Filed: August 22, 2018)

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                                   _______________

                                         OPINION
                                      _______________


               JORDAN, Circuit Judge.

                     In this appeal, we interpret three provisions of the Fair
               Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692-
               1692p. Elaine and William Levins allege that Healthcare




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               Revenue Recovery Group LLC (“HRRG”) violated
               §§ 1692e(14), 1692d(6), and 1692e(10) by leaving telephone
               voice messages that did not use its true name, did not
               meaningfully disclose its identity, and used false
               representations and deceptive means to collect or attempt to
               collect a debt or obtain information about a consumer. In
               particular, the Levinses complain that voicemail messages in
               which HRRG went by the name of “ARS” were insufficient to
               identify it as HRRG or even as “ARS ACCOUNT
               RESOLUTION SERVICES,” which is an alternative business
               name used by HRRG. HRRG moved to dismiss the complaint,
               as amended, for failure to state a claim, and the District Court
               granted that motion.

                      We conclude that the Levinses have stated a plausible
               claim that HRRG violated § 1692e(14)’s “true name”
               provision, but they have not stated plausible claims under
               §§ 1692d(6) or 1692e(10). Accordingly, we will vacate in part
               and affirm in part the dismissal of their case.

               I.     BACKGROUND

                      A.     Allegations In The Complaint1

                      The Levinses, who live in New Jersey, purportedly
               incurred a debt that was transferred to HRRG for collection.
               HRRG then began leaving pre-recorded voicemail messages


                      1
                       For convenience, we refer to the amended complaint
               simply as “the complaint.” We construe the allegations of that
               pleading in the light most favorable to the Levinses. See infra
               note 2.




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               on the Levinses’ phone in an attempt to collect the debt. The
               following is a transcription of the message:
                      ARS calling. Please return our call at 1-800-694-
                      3048. ARS is a debt collector. This is an attempt
                      to collect a debt. Any information obtained will
                      be used for that purpose. Again, our number is
                      1-800-694-3048.               Visit     us     at
                      www.arspayment.com.

               (App. at 22 ¶ 31.)

                      At the time the Levinses received that message over and
               over, they did not know the identity of the caller. They had
               never received any written communication from HRRG.
               Having recently gone through bankruptcy, they knew of a debt
               collector with the full name “ARS National Services, Inc.” that
               was known as “ARS” for short. That company, however, turns
               out to be wholly unrelated to HRRG. While it has registered
               the name “ARS ACCOUNT RESOLUTION SERVICES” in
               New Jersey, HRRG has neither registered the stand-alone
               name “ARS” nor taken any other legal steps to do business
               under that specific name.

                      There are numerous businesses that use the name
               “ARS,” including the debt collector the Levinses had heard of,
               which is a California corporation registered to transact
               business in New Jersey. According to the Levinses, “by
               reputation the name ‘ARS’ is, without more, associated in the
               nation’s debt collection industry with ARS National Services
               Inc.” (App. at 23 ¶ 41.) A Google search of “ARS” along with
               “debt” or “collector” will result in links to many debt collectors
               other than HRRG. Reference to www.arspayment.com, the
               website that HRRG mentioned in the pre-recorded messages it




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               left for the Levinses, does not narrow the field. It only leads to
               a browser privacy warning that blocks access to the website.
               And, if one ignores the warning and accesses the site, the
               website begins tracking and storing information about the
               computer user.

                      B.     Procedural History

                      Within a year of receiving the voicemail messages from
               HRRG, the Levinses filed their putative class-action complaint
               alleging that HRRG violated the FDCPA when attempting to
               collect debts from them and others similarly situated. They
               eventually filed an amended complaint in which they claimed
               that the pre-recorded messages violate 15 U.S.C.
               §§ 1692e(14), 1692d(6), and 1692e(10) because they “use the
               name of any business, company or organization other than the
               true name of the debt collector’s business, company, or
               organization”; “fail to provide meaningful disclosure of
               HRRG’s identity”; and “use false representations and
               deceptive means to collect or attempt to collect any debt and to
               obtain information concerning a consumer[.]” (App. at 19
               ¶ 13.)

                       HRRG moved to dismiss the case, invoking Federal
               Rule of Civil Procedure 12(b)(6). Along with its motion,
               HRRG filed an attorney declaration with supporting
               documents. Among those was a certificate stating that it is
               registered to do business in New Jersey under the name “ARS
               ACCOUNT RESOLUTION SERVICES,” and a collection
               letter that it purports to have sent to Elaine Levins in November
               2015. The Levinses opposed HRRG’s motion and submitted
               their own attorney declaration with documents listing hundreds
               of businesses registered in New Jersey under names that




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               include “ARS.” After reviewing the parties’ submissions, the
               District Court granted the motion to dismiss.

                      The Levinses have timely appealed.

               II.    DISCUSSION2

                       In appealing the order dismissing their complaint for
               failure to state a claim, the Levinses make three arguments.
               First, they say that HRRG violated § 1692e(14) because it did
               not use its true name in the voicemail messages. Next, they
               argue that HRRG violated § 1692d(6) because the messages
               did not meaningfully disclose the caller’s identity. And finally,
               they assert that HRRG violated § 1692e(10) because forcing
               consumers to call HRRG or navigate its website is a deceptive

                      2
                        The District Court had jurisdiction under 28 U.S.C.
               § 1331. We have jurisdiction pursuant to 28 U.S.C. § 1291.
               “We exercise plenary review over a district court’s dismissal
               for failure to state a claim under Rule 12(b)(6), applying the
               same standard as the district court.” Glover v. FDIC, 698 F.3d
               139, 144 (3d Cir. 2012). “We will affirm an order dismissing
               a complaint only when the complaint fails to contain sufficient
               factual matter, accepted as true, to state a claim to relief that is
               plausible on its face.” Rotkiske v. Klemm, 890 F.3d 422, 424
               n.2 (3d Cir. 2018) (en banc) (internal quotation marks omitted).
               “A claim has facial plausibility when the plaintiff pleads
               factual content that allows the court to draw the reasonable
               inference that the defendant is liable for the misconduct
               alleged.” Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d
               Cir. 2018). We construe the allegations in the complaint in the
               light most favorable to the non-moving parties, the plaintiffs.
               Id.




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               means to collect debts and obtain information about a
               consumer.

                       HRRG of course disputes all of those contentions. It
               says that it did not violate § 1692e(14) because “ARS” is an
               abbreviation of its registered alternative business name “ARS
               Account Resolution Services,” which is a true name. It then
               contends that it did not violate § 1692d(6) because the
               messages said that the caller was a debt collector, pointed out
               that the purpose of the call was to collect a debt, and provided
               a phone number and website for the consumer to use, all of
               which was a sufficient disclosure of identity. And, last, it
               argues that it did not use deceptive collection practices in
               violation of § 1692e(10) because the messages informed
               consumers that any information obtained would be used to
               collect a debt.

                     Before turning to the parties’ competing arguments,
               though, we must determine which materials can properly be
               considered in evaluating the District Court’s decision to
               dismiss the claims under Rule 12(b)(6).

                      A.     We Decline To Rely On The Collection Letter
                             Attached To HRRG’s Motion To Dismiss
                             Because The Complaint Does Not Reference
                             Or Rely On It.

                      We “generally consider only the allegations contained
               in the complaint, exhibits attached to the complaint[,] and
               matters of public record” when evaluating whether dismissal
               under Rule 12(b)(6) was proper. Pension Benefit Guar. Corp.
               v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir.
               1993). But we can also consider “an undisputedly authentic




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               document that a defendant attaches as an exhibit to a motion to
               dismiss if the plaintiff’s claims are based on the document.”
               Id. We may do so because “the primary problem raised by
               looking to documents outside the complaint—lack of notice to
               the plaintiff—is dissipated where the plaintiff has actual
               notice ... and has relied upon [those] documents in framing the
               complaint.” Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir.
               2014) (internal quotation marks, alteration, and citation
               omitted).

                       Here, HRRG asks us to consider the collection letter that
               it claims to have mailed to the Levinses in November 2015.
               The letter bears a company logo consisting of the letters
               “ARS,” says in the letterhead that “Account Resolution
               Services” is “a division of HRRG, LLC,” and, in the body of
               the letter, uses “ARS” as an abbreviated name. (App. at 38.)
               HRRG urges us to conclude that the Levinses received that
               collection letter before the phone messages and so would have
               understood ARS and HRRG to be one and the same. The
               Levinses respond that the letter is off limits at this stage of the
               litigation, and they are right. We will not consider it because
               the claims in the Levinses’ complaint are not based on it.
               Rather, the claims are based on the pre-recorded phone
               messages that the Levinses allegedly received. Indeed, the
               Levinses specifically allege that they have never received any
               written communication from HRRG, and we must take that as
               true, see Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d
               Cir. 2018) (construing allegations in the complaint in the light
               most favorable to the non-moving party).3

                      3
                          The District Court’s decision likewise did not
               reference that collection letter. We will, however, consider the
               certificate stating that HRRG is registered to do business in




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                      Of course, our decision not to consider the letter at this
               stage does not mean that it is irrelevant or forever precluded
               from consideration. Assuming it is properly tendered to the
               District Court, HRRG may rely on it later in a motion for
               summary judgment or at trial.

                      With that decided, we can now consider whether the
               Levinses have stated their FDCPA claims with sufficient
               plausibility to withstand the motion to dismiss.

                      B.     The Levinses Have Stated A Plausible Claim
                             Under § 1692e(14).

                      Congress enacted the FDCPA “to eliminate abusive
               debt collection practices by debt collectors[.]” 15 U.S.C.
               § 1692. Because it is a remedial statute, “we construe its
               language broadly, so as to effect its purpose.” Tatis, 882 F.3d
               at 427 (internal quotation marks and citation omitted). In
               evaluating whether a particular debt-collection practice
               violates the Act, “we employ a ‘least sophisticated debtor’
               standard[.]” Id. (citation omitted). “The standard is objective,
               meaning that the specific plaintiff need not prove that she was
               actually confused or misled, only that the objective least
               sophisticated debtor would be.” Id. (internal quotation marks,
               emphasis, and citation omitted). “[That] standard aims to


               New Jersey under the name “ARS ACCOUNT RESOLUTION
               SERVICES,” (App. at 35), because it is a matter of public
               record, Pension Benefit Guar. Corp., 998 F.2d at 1196. The
               District Court referenced the certificate in its decision, and
               neither party disputes that choice on appeal. That is the limit
               of what we are considering outside of the complaint.




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               protect the gullible as well as the shrewd, but it nevertheless
               preserves a quotient of reasonableness[.]” Id. (internal
               quotation marks, alterations, and citations omitted).

                      To state a claim under the FDCPA, a plaintiff must
               allege that “(1) she is a consumer, (2) the defendant is a debt
               collector, (3) the defendant’s challenged practice involves an
               attempt to collect a ‘debt’ as the Act defines it, and (4) the
               defendant has violated a provision of the FDCPA in attempting
               to collect the debt.” Id. Here, the parties only dispute the
               fourth element, i.e., whether the messages violated
               §§ 1692e(14), 1692d(6), or 1692e(10) of the Act.

                        We conclude that the Levinses have stated a plausible
               claim under § 1692e(14) because, as alleged in the complaint,
               “ARS” is neither HRRG’s full business name, the name under
               which it usually transacts business, nor a commonly used
               acronym of its registered name “ARS ACCOUNT
               RESOLUTION SERVICES.” Section 1692e prohibits a debt
               collector from “us[ing] any false, deceptive, or misleading
               representation or means in connection with the collection of
               any debt.” 15 U.S.C. § 1692e. It contains a non-exhaustive
               list of prohibited conduct, one sort of which is “[t]he use of any
               business, company, or organization name other than the true
               name of the debt collector’s business, company, or
               organization.” Id. § 1692e(14).

                      The FDCPA is enforced by the Federal Trade
               Commission (“FTC”), which has offered guidance on how to
               interpret that statute. Hawthorne v. Mac Adjustment, Inc., 140
               F.3d 1367, 1372 n.2 (11th Cir. 1998). Although the FTC’s
               guidance “does not have the force of law and is not entitled to
               deference in FDCPA cases[,]” we may adopt its interpretation




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               when we find its logic persuasive. Brown v. Card Serv. Ctr.,
               464 F.3d 450, 455 (3d Cir. 2006) (internal quotation marks,
               alterations, and citation omitted). The FTC has interpreted the
               “true name” requirement in § 1692e(14) to permit a debt
               collector to “use its full business name, the name under which
               it usually transacts business, or a commonly-used acronym[,]”
               as long as “it consistently uses the same name when dealing
               with a particular consumer.” Statements of General Policy or
               Interpretation Staff Commentary On the Fair Debt Collection
               Practices Act, 53 Fed. Reg. 50097, 50107 (Dec. 13, 1988)
               [hereinafter FTC Commentary]. That is a sound interpretation
               of the statutory requirement, and we adopt it as our own.

                      Here, at this early stage in the case, when we must take
               the allegations in the complaint as true, the Levinses have
               plausibly alleged facts suggesting that “ARS” is not the “true
               name” of HRRG. While they do not deny that “ARS” is a name
               HRRG may use, they say that the acronym is commonly
               associated with other debt collection companies, including
               “ARS National Services, Inc.,” and that it could refer to
               hundreds of other businesses registered to do business in New
               Jersey under names that include “ARS.” (App. at 23 ¶¶ 37, 41;
               App. at 41.) See also Sayles v. Advanced Recovery Sys., Inc.,
               865 F.3d 246, 248 (5th Cir. 2017) (abbreviating defendant
               “Advanced Recovery Systems, Inc.” as “ARS”); Koby v. ARS
               Nat’l Servs., Inc., 846 F.3d 1071, 1074 (9th Cir. 2017)
               (abbreviating defendant “ARS National Services, Inc.” as
               “ARS”). Nothing in the information properly before us
               indicates that “ARS” is HRRG’s full business name, the name
               under which it usually transacts business, or its commonly used
               acronym. To the extent HRRG argues to the contrary, it is
               doing so without proper record support. It will have an
               opportunity later to expand the record, but for now taking the




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               allegations in the complaint as true, we conclude that the
               Levinses have stated a plausible claim for relief under
               § 1692e(14).4

                      C.     The Levinses Have Not Stated A Plausible
                             Claim Under § 1692d(6).

                     Section 1692d prohibits a debt collector from
               “engag[ing] in any conduct the natural consequence of which

                      4
                        The District Court reached the opposite conclusion by
               relying on Pescatrice v. Elite Recovery Service, Inc., No. 06-
               61130, 2007 WL 1192441 (S.D. Fla. Apr. 23, 2007), and
               Strand v. Diversified Collection Service, Inc., 380 F.3d 316
               (8th Cir. 2004). Those cases, however, are distinguishable.
                      In Pescatrice, the court held that there was no violation
               of § 1692e(10) when a debt collector used an abbreviation of
               its company name in the return address of a mailing. 2007 WL
               1192441, at *4; see also 15 U.S.C. § 1692e(10) (prohibiting
               “[t]he use of any false representation or deceptive means to
               collect or attempt to collect any debt or to obtain information
               concerning a consumer”); infra Section II.D. Similarly, in
               Strand, the court held that a collection agency’s practice of
               using its initials and corporate logo on an envelope’s exterior
               did not violate § 1692f(8). 380 F.3d at 319; see also 15 U.S.C.
               § 1692f(8) (prohibiting “[u]sing any language or symbol, other
               than the debt collector’s address, on any envelope when
               communicating with a consumer by use of the mails or by
               telegram, except that a debt collector may use his business
               name if such name does not indicate that he is in the debt
               collection business”). Both of those cases were based on
               different provisions of the FDCPA, and we do not interpret
               them as deciding the “true name” question that is at issue here.




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               is to harass, oppress, or abuse any person in connection with
               the collection of a debt.” 15 U.S.C. § 1692d. It too, like
               § 1692e, contains a non-exhaustive list of prohibited conduct,
               one type of which is “the placement of telephone calls without
               meaningful disclosure of the caller’s identity.” Id. § 1692d(6).
               Here, though the issue is close, we conclude that the District
               Court was correct to rule that the Levinses have not stated a
               claim under § 1692d(6). The voicemail messages provided
               enough information about the caller’s identity for the least
               sophisticated debtor to know that the call was from a debt
               collector and was an attempt to collect a debt.

                       The statute does not define “meaningful disclosure[,]”
               but in Hart v. Credit Control, LLC, the United States Court of
               Appeals for the Eleventh Circuit interpreted “meaningful
               disclosure” as requiring a debt collector’s voice message to
               provide two types of information: first, “the name of the debt
               collection company[,]” and second, “the nature of the debt
               collection company’s business, which can be satisfied by
               disclosing that the call is on behalf of a debt collection
               company[.]” 871 F.3d 1255, 1260 (11th Cir. 2017). The court
               held that there was no violation of § 1692d(6) when the
               individual calling on behalf of the debt collector did not leave
               his or her personal name in a message because that individual
               provided a company name and stated that the call was from a
               debt collector. Id. at 1259-60; see also id. at 1256 (“This is
               Credit Control calling with a message. This call is from a debt
               collector. Please call us at 866–784–1160. Thank you.”).
               District courts in our Circuit have similarly interpreted
               “meaningful disclosure” as requiring a debt collector “to reveal
               itself as a collection agency when leaving messages” because
               “[m]eaningful disclosure requires a debt collector to disclose
               enough information so as not to mislead the recipient as to the




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               purpose of the call.” See Pisarz v. GC Servs. Ltd. P’ship, No.
               16-4552, 2017 WL 1102636, at *6 (D.N.J. Mar. 24, 2017)
               (internal quotation marks and citation omitted); see also id.
               (citing district court cases).

                      The Levinses claim that saying “ARS” was not enough
               meaningful disclosure of the caller’s identity to be lawful under
               § 1692d(6). As with their claim under § 1692e(14), they again
               argue that, from the words of the messages, it is not clear that
               “ARS” would uniquely refer to HRRG because there are other
               companies in the debt collection industry that are associated
               with the name “ARS,” and there are other businesses registered
               in New Jersey with business names or associated names that
               include “ARS.” Although we agreed with that contention with
               respect to § 1692e(14)’s “true name” requirement, it has less
               force in the context of § 1692d(6) for two reasons.

                     First, although it is possible for a debt collector’s phone
               message to violate both §§ 1692d(6) and 1692e(14),5 a


                      5
                        The FTC regards a debt collector’s use of “a false
               business name in a phone call” as violating both §§ 1692e(14)
               and 1692d(6). See FTC Commentary, 53 Fed. Reg. at 50105
               (“A debt collector who uses a false business name in a phone
               call to conceal his identity violates [§ 1692e(14)], as well as
               [§ 1692d(6)].”); id. at 50107 (“When a debt collector uses a
               false business name in a phone call, he violates [§ 1692d(6)] as
               well as [§ 1692e(14)].”). We agree that such conduct would
               violate both §§ 1692e(14) and 1692d(6), but here the Levinses
               have not alleged that “ARS” is a “false business name” of
               HRRG. They have only alleged and argued that the name
               “ARS” could refer to any number of companies that use the




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               violation of one provision is not necessarily a violation of the
               other because “meaningful disclosure of the caller’s identity”
               is not restricted to providing the name of the debt collector. As
               explained above, “meaningful disclosure of the caller’s
               identity” has been interpreted to include information that
               discloses the call is from a debt collector so as not to mislead
               the least sophisticated debtor of the purpose of the call. Here,
               the voicemail messages would not mislead the least
               sophisticated debtor because the messages gave some
               identifying information about the caller, stated that the call was
               from a debt collector, and stated that the call was an attempt to
               collect a debt. Even though the Levinses have sufficiently
               alleged that “ARS” is, as already discussed, less than a “true
               name” as defined by § 1692e(14), they have not plausibly
               alleged that using the abbreviation “ARS,” which is associated
               with a registered identity of HRRG, amounts to a lack of
               meaningful disclosure of the sort forbidden by § 1692d(6).
               Nothing in the messages rises to the level of “harass[ment],
               oppress[ion], or abuse ... in connection with the collection of a
               debt,” which is the target of § 1692d.

                      Second, and closely related, if we were to say that use
               of anything less than a debt collector’s “true name” was a
               violation of § 1692d(6), we would make § 1692d(6)
               superfluous in light of § 1692e(14). See Everage v. Nat’l
               Recovery Agency, No. 14-2463, 2015 WL 1071757, at *5 (E.D.
               Pa. Mar. 11, 2015) (declining to import § 1692e(14)’s “true
               name” requirement into § 1692d(6)). When Congress enacted
               the FDCPA, it used the term “true name” in § 1692e(14),
               whereas it used “meaningful disclosure of the caller’s identity”


               name “ARS,” which falls short of saying that “ARS” is a “false
               business name” of HRRG.




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               in § 1692d(6). Fair Debt Collection Practices Act, Pub. L. No.
               95-109, 91 Stat. 874, 877-78 (1977). The difference must have
               significance. If Congress had wanted § 1692d(6) also to
               require that a debt collection company use its “true name[,]”
               then it would have so specified. See Loughrin v. United States,
               134 S. Ct. 2384, 2390 (2014) (noting “when Congress includes
               particular language in one section of a statute but omits it in
               another[,] ... th[e Supreme] Court presumes that Congress
               intended a difference in meaning” (internal quotation marks,
               citation, and alteration omitted)). We will not rewrite the
               statute and import the “true name” requirement of § 1692e(14)
               into § 1692d(6).

                      For those reasons, the District Court properly dismissed
               the Levinses’ claim under § 1692d(6).

                      D.     The Levinses Have Not Stated A Plausible
                             Claim Under § 1692e(10).

                      Finally, we also agree with the District Court’s
               conclusion that the Levinses failed to state a claim under
               § 1692e(10) because the messages adequately warned that any
               information obtained would be used to collect a debt.
               Section 1692e(10) prohibits “[t]he use of any false
               representation or deceptive means to collect or attempt to
               collect any debt or to obtain information concerning a
               consumer.” 15 U.S.C. § 1692e(10).

                     Violations    of   § 1692e(10)    usually   “include
               impersonating a public official, falsely representing that
               unpaid debts will be referred to an attorney, and
               misrepresenting the amount of the debt owed.” Harvey v.
               Great Seneca Fin. Corp., 453 F.3d 324, 331 (6th Cir. 2006)




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               (internal citations omitted); see also, e.g., Crossley v.
               Lieberman, 868 F.2d 566, 571 (3d Cir. 1989) (holding attorney
               violated § 1692e(10) when he sent a collection letter that
               falsely represented that a mortgage foreclosure case was
               already in litigation, that threatened to take action within one
               week, and that failed to inform debtor of her right to cure). To
               state a claim under § 1692e, a false statement “must be material
               when viewed through the least sophisticated debtor’s eyes[,]”
               which means “it has the potential to affect the decision-making
               process of the least sophisticated debtor[.]” Jensen v. Pressler
               & Pressler, 791 F.3d 413, 421 (3d Cir. 2015) (emphasis
               omitted).

                      Here, nothing in the messages rises to the level of being
               materially deceptive, misleading, or false. The plain language
               of each message reveals that the caller is a debt collector, that
               the call is part of an attempt to collect a debt, and that any
               information obtained will be used in that attempt. Given those
               clear disclosures, even the least sophisticated debtor is fairly
               on notice that calling the phone number provided in the
               message or visiting the website might result in the debt
               collector obtaining information that it could use in trying to
               collect the debt. The caller’s purpose is transparent and the
               messages are far removed from the false representations that
               typically have been held to violate § 1692e(10). The District
               Court thus properly dismissed the claim brought under that
               FDCPA subsection.

               III.   CONCLUSION

                      For the foregoing reasons, we will vacate the District
               Court’s dismissal of the § 1692e(14) claim and remand for
               further proceedings. We will affirm, however, the District




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               Court’s dismissal of the claims under §§ 1692d(6) and
               1692e(10).




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